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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                    WESTERN DIVISION

 UNITED STATES OF AMERICA,                     )      CR. 10-50118-01, 02, 03, 04,
                                               )      05, 08, 09, 10, 13, 14, 15, &
              Plaintiff,                       )      16-JLV
                                               )
      vs.                                      )
                                               )      AMENDED ORDER GRANTING
 LUIS OLIVARES,                                )           CONTINUANCE
 TRAVIS BRANDIS,                               )
 PRECIOUS BARTLETT,                            )
 ETHEL THUNDER HAWK, a/k/a                     )
 SUGAR, a/k/a ETHEL                            )
 THUNDERHAWK,                                  )
 DEB DILLON,                                   )
 DAKOTA DILLON,                                )
 CLAUDETTE LONG SOLDIER,                       )
 DEREK PETERS,                                 )
 ROBERT GAY,                                   )
 GERALD LONG SOLDIER,                          )
 CALEB BRACHA, a/k/a GHOST,                    )
 and COURTNEY KROGMAN,                         )
                                               )
              Defendants.

            Trial in the above-captioned case currently is scheduled to begin on September

 20, 2011. (Docket 428). Defendant Derick Peters moves for a continuance of the trial

 on the basis his attorney, who was appointed on August 1, 2011, needs additional

 time to review discovery provided to him by the government. (Docket 431). The

 government also moves for a continuance of the trial on the ground that defendant

 Matt Allen, who has not made his initial appearance in this case, will make his

 appearance on October 17, 2011, thereby joining him for trial with his co-defendants.

 (Docket 432). Defendants Courtney Krogman and Travis Brandis object to a

 continuance on the basis of the Sixth Amendment right to speedy trial and the

 Speedy Trial Act. (Dockets 435 & 436).

 A.         Sixth Amendment

            The Sixth Amendment to the United States Constitution guarantees a criminal

 defendant the right to a speedy trial. U.S. Const. amend. VI. The only remedy for a
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 violation of this right is dismissal of the indictment. Barker v. Wingo, 407 U.S. 514,

 522 (1972).

        A defendant's constitutional right to a speedy trial “ ‘attaches at the time

 of arrest or indictment, whichever comes first, and continues until the trial

 commences.’ ” United States v. Erenas-Luna, 560 F.3d 772, 776 (8th Cir. 2009)

 (quoting United States v. McGhee, 532 F.3d 733, 739 (8th Cir. 2008)). The Sixth

 Amendment does not specify a time limit in which an accused must be brought to

 trial. See U.S. Const. amend. VI.

        Because of the “vague” nature of this right, “any inquiry into a speedy trial

 claim necessitates a functional analysis of the right in the particular context of the

 case[.]” Barker, 407 U.S. at 522. To assist courts in evaluating speedy trial claims,

 the Barker Court established a four-factor balancing test “in which the conduct of

 both the prosecution and the defendant are weighed.” Id. at 530. These factors are

 the length of the delay, the reason for the delay, the defendant’s assertion of his right

 to speedy trial, and the prejudice to the defendant. Id. Because the “length of the

 delay is to some extent a triggering mechanism[,]” courts need not inquire into the

 remaining factors “[u]ntil there is some delay which is presumptively prejudicial[.]”

 Id.; see also United States v. Chahia, 544 F.3d 890, 898 (8th Cir. 2008) (“With respect

 to the first factor, an accused must allege that the interval between accusation and

 trial has crossed the threshold dividing ordinary from presumptively prejudicial

 delay. . . . [I]f the length of the delay is not presumptively prejudicial, [courts] need

 not examine the other criteria.”) (citations and internal quotation marks omitted).

        The government indicted Mr. Brandis on December 21, 2010. (Docket 10). The

 government indicted Mr. Krogman on January 19, 2011. (Docket 22). The court

 intends to reschedule the trial in this case to December 13, 2011. Thus, there will be

 an approximate one-year delay in bringing Mr. Brandis to trial and an approximate


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 11-month delay in bringing Mr. Krogman to trial. A delay approaching one year may

 meet the threshold for presumptively prejudicial delay. Doggett v. United States, 505

 U.S. 647, 652 n. 1 (1992). However, “because of the imprecision of the right to

 speedy trial, the length of delay that will provoke such an inquiry is necessarily

 dependent upon the peculiar circumstances of the case.” Barker, 407 U.S. at 530-31.

 The issue is whether the delay here gives rise to a presumption of prejudice given the

 complexity of this multi-defendant drug conspiracy–one of the largest alleged drug

 conspiracies in this district in recent history. See id. at 531 (“[T]he delay that can be

 tolerated for an ordinary street crime is considerably less than for a serious, complex

 conspiracy charge.”). Given the “peculiar circumstances” of this case, the court finds

 the approximate 11-month delay in bringing Mr. Krogman to trial and approximate

 one-year delay in bringing Mr. Brandis to trial are not excessive or unreasonable.

 However, in order to provide a thorough analysis and for the purpose of this

 discussion only, the court presumes prejudicial delay and will consider the remaining

 Barker factors.

       In consideration of the second Barker factor, the reason for the delay, the court

 incorporates by reference its previous discussions regarding the appropriateness of

 joinder in this case. (Dockets 227, 259, & 384). Because the court ultimately finds

 the statutory and constitutional speedy trial rights of Mr. Krogman and Mr. Brandis

 are not in jeopardy, the clear preference for joinder remains. There have been three

 continuances granted in the case prior to the pending motions to continue. (Dockets

 140, 259, & 384). All prior continuances resulted from motions filed by various

 defendants in this case, motions premised on the need to investigate the case,

 interview witnesses, and review voluminous discovery. The reasons for the

 continuances were valid and justified appropriate delay. See Barker, 407 U.S. at 531

 (noting courts should assign different weights to different reasons for the delay and “a


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 valid reason . . . should serve to justify appropriate delay[]”). Similarly, the court finds

 the government and Mr. Peters offered valid reasons to support their pending motions

 to continue. Mr. Peters recently obtained new counsel, who required additional time

 to review discovery and prepare for trial. (Docket 431). The government requested a

 continuance in order to join defendant Matt Allen for trial so as to avoid trying him

 separately. (Docket 432). There is no evidence Mr. Peters or the government filed

 their motions in an attempt to deliberately delay the trial, obtain a tactical advantage,

 or hamper the defense of the remaining co-defendants.

         The court next considers the third Barker factor, the defendant's responsibility

 to assert his speedy trial right. Both Mr. Krogman and Mr. Brandis objected to the

 current motions to continue and asserted their speedy trial rights. (Dockets 435 &

 436).

    The fourth Barker factor, the prejudice to the defendant, “should be assessed in

 the light of the interests of defendants which the speedy trial right was designed to

 protect.” Barker, 407 U.S. at 532. Those interests are “(i) to prevent oppressive

 pretrial incarceration; (ii) to minimize anxiety and concern of the accused; and (iii) to

 limit the possibility that the defense will be impaired.” Id. The last interest is the

 most serious “because the inability of a defendant adequately to prepare his case

 skews the fairness of the entire system.” Id. Here, Mr. Krogman and Mr. Brandis will

 suffer no demonstrable prejudice from the delay in trial. Neither defendant alleges

 the delay impaired in any way their ability to prepare proper defenses. For example,

 they do not allege evidence has become stale or witnesses have become unavailable.

 Further, the court states in no uncertain terms that further continuances shall not be

 granted in this case. This clear stance of the court should minimize the anxiety or

 concern felt by Mr. Krogman and Mr. Brandis over the delay in their trial, although

 neither expressed any anxiety or concern in their written objections. Finally, the


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 court notes Mr. Krogman is currently incarcerated on unrelated charges. On April 6,

 2011, the court sentenced Mr. Krogman to 11 months of imprisonment. With credit

 for time served, it appears Mr. Krogman’s anticipated release date is November 24,

 2011.1 Trial in this case shall commence shortly thereafter on December 13, 2011.

 Even assuming Mr. Krogman remains in custody until trial begins in this case, the

 court does not find such custody to be oppressive. Mr. Brandis has been on pretrial

 release continuously since April 13, 2011. (Docket 221). Although Mr. Brandis is

 subject to certain conditions of pretrial release, see id., the court does not find such

 conditions to be oppressive.

 B.    Speedy Trial Act

       The court incorporates the detailed discussion of the Speedy Trial Act as set

 forth in its previous orders in this case. (Dockets 227, 259, & 384). Pursuant to

 18 U.S.C. § 3161(h)(7)(A), the court finds the ends of justice served by continuing the

 trial outweigh the best interests of the public and the defendants in a speedy trial.

 Mr. Peters and his recently-appointed counsel require sufficient time to review

 discovery and prepare for trial. A brief continuance of the trial is reasonable and

 necessary given the voluminous discovery and seriousness and complexity of the

 case. Further, as Matt Allen is scheduled to make his initial appearance in this case

 on October 17, 2011, a brief continuance will ensure he is joined for trial and judicial

 resources are not wasted by requiring separate trials.

       In accord with the above discussion, the court overrules the objections filed by

 Mr. Krogman and Mr. Brandis to the pending motions to continue. The court finds a

 continuance of the trial does not violate the statutory and constitutional rights of Mr.

 Krogman and Mr. Brandis to a speedy trial. Trial shall commence on December 13,



       1
        This information is available at the Bureau of Prison's online inmate indicator.
 See http://www.bop.gov/iloc2/LocateInmate.jsp.

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 2011. There shall be no further continuances granted in the case. Good cause

 appearing, it is hereby

       ORDERED that the motions to continue filed by Mr. Peters and the government

 (Dockets 431 & 432) are granted and the following deadlines shall apply to all parties:


        Applications for Writ of Habeas      November 21, 2011
        Corpus Ad Testificandum
        Other motions                        November 21, 2011
        Responses to motions due             Within seven days after motion is
                                             filed
        Subpoenas for trial                  November 28, 2011
        Plea agreement or petition to        November 28, 2011
        plead and statement of factual
        basis
        Notify court of status of case       November 28, 2011

        Motions in limine                    November 28, 2011

        Proposed jury instructions due       November 28, 2011
        Evidentiary hearing, if necessary    Thursday, December 1, 2011, at
                                             1:30 p.m.
        Pretrial conference                  Monday, December 12, 2011, at
                                             2 p.m.
        Jury trial - DATE CERTAIN            Tuesday, December 13, 2011, at
                                             9 a.m.

       The period of delay resulting from this continuance is excluded in computing
 the time within which the trial of the case must commence.
 18 U.S.C. § 3161(h)(7)(A).
       Defendants who do not object to the continuance must file waivers of their
 speedy trial rights under the Speedy Trial Act and the Sixth Amendment. Waivers
 must be filed on or before September 14, 2011. The filing of waivers by September
 14, 2011, is mandatory.




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       All other provisions of the court's scheduling and case management order
 (Docket 299) remain in effect unless specifically changed herein.
       Dated September 13, 2011.

                                  BY THE COURT:

                                  /s/ Jeffrey L. Viken
                                  JEFFREY L. VIKEN
                                  UNITED STATES DISTRICT JUDGE




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